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    9
  10                         UNITED STATES DISTRICT COURT
  11                       CENTRAL DISTRICT OF CALIFORNIA
  12                                  WESTERN DIVISION
  13
  14    META PLATFORMS, INC.,                Case No. 2:22-mc-00146-PA-AGR
  15        Movant,                          SNAP’S OPPOSITION TO META’S
  16                                         MOTION TO TRANSFER META’S
                      v.                     MOTION TO COMPEL AND SNAP’S
  17                                         CROSS-MOTION TO QUASH
  18    SNAP INC.,                           Underlying action in the United States
                                             District Court for the District of
  19        Cross-Movant and Respondent.     Columbia, No. 1:20-cv-03590-JEB
  20                                         Fact Discovery Cutoff: May 22, 2023
                                             Expert Discovery Cutoff: January 5, 2024
  21                                         Pretrial Conference and Trial Date: TBD
  22                                         Hearing Date: September 13, 2022
                                             Hearing Time: 11 a.m.
  23                                         Magistrate Judge Alicia G. Rosenberg
  24                                         DISCOVERY MATTER
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  26
  27
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    1                                  INTRODUCTION
    2         The Court should deny Meta Platform, Inc.’s (“Meta”) motion to transfer one
    3 of two related cases pending before this Court. Meta has served two technically
    4 separate but highly duplicative subpoenas on Snap Inc. (“Snap”), a non-party to the
    5 two underlying actions. The Court is currently scheduled to hear two sets of motions
    6 concerning these subpoenas: a motion to compel by Meta and a cross-motion to quash
    7 by Snap in Case No. 2:22-mc-00146-PA-AGR (together, the “FTC Motions”), as well
    8 as another motion to compel by Meta and another motion to quash by Snap in related
    9 Case No. 2:22-mc-00147-PA-AGR (together, the “Klein Motions”). The parties’
  10 arguments are substantially the same across the two sets of motions. Yet, Meta seeks
  11 to transfer one (and only one) set of the motions under Federal Rule of Civil
  12 Procedure 45(f).
  13          In other words, Meta wants to transfer the motions concerning its subpoena in
  14 one case to the underlying court in the District of Columbia, but Meta does not want
  15 to transfer the motions concerning its subpoena in the other case to the other
  16 underlying court in the Northern District of California. This is so even though all the
  17 motions are highly duplicative and concern nearly identical issues and arguments.
  18 Meta is thus trying to get two bites at the apple—if it can convince either court to
  19 compel Snap to produce documents responsive to its subpoenas, Snap will be forced
  20 to comply. Snap should not have to win the same motions twice in order to protect
  21 itself from the burden and invasiveness of Meta’s abusive subpoenas. Nor should the
  22 judiciary be forced to rule on substantially similar motions twice.
  23          Meta’s motion should be denied for the following reasons.
  24          First, a motion to transfer requires “exceptional circumstances,” which Meta
  25 cannot establish. See Fed. R. Civ. P. 45(f). As an initial matter, Meta’s arguments in
  26 favor of transferring are all pretextual and therefore should be discounted. Although
  27 the reasons asserted by Meta in support of transferring the FTC Motions also apply to
  28 the Klein Motions, Meta seeks to transfer only the FTC Motions. Because Meta’s
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    1 proffered reasons for transfer cannot explain this inconsistency, Meta must have other,
    2 purely self-serving reasons that it cannot propound as grounds for transfer.
    3         Further, none of Meta’s proffered reasons establishes exceptional
    4 circumstances. This is the court empowered under the Federal Rules of Civil
    5 Procedure to rule on the parties’ motions. Rule 45(d) provides that “[t]he court for
    6 the district where compliance is required”—not the issuing court—may “quash or
    7 modify” a subpoena. This is the court of the district where compliance is required
    8 pursuant to Meta’s subpoenas, and this is the district where Snap is based. Meta’s
    9 lead argument to flee this district is that transfer is necessary to avoid the possibility
  10 of inconsistent rulings on hypothetical disputes that may never materialize. Such a
  11 speculative benefit does not warrant transfer. Meta supplements this argument by
  12 noting that the judge overseeing the underlying action is more familiar with the
  13 underlying action than is this Court—a circumstance that is always true (and thus not
  14 exceptional) when a non-party subpoena is issued by a court other than the court
  15 where compliance is required. Finally, Meta points to a two-sentence ruling issued
  16 by the judge overseeing the underlying action as evidence that he decided one of the
  17 many issues before this Court. But the issues are distinct, so Meta’s point falls flat.
  18 Because none of these circumstances are exceptional, the Court should reject Meta’s
  19 motion for failure to meet its burden. See Argument § I below.
  20          Second, even if Meta could meet its burden (which it cannot), transfer would
  21 not be justified because splitting up the FTC and Klein Motions will burden the
  22 judiciary and Snap with inefficiencies, unfairness, and potentially inconsistent
  23 rulings. This Court is the only court that can hear the heavily overlapping FTC and
  24 Klein Motions together. Because this Court will have to decide the Klein Motions
  25 either way, it would be inefficient to have another court wade through the same issues
  26 as well. Snap would also be burdened by having to press the same arguments in two
  27 courts. Moreover, Meta has nothing to lose and everything to gain from splitting its
  28 motions to compel.         Since the materials sought by its subpoenas overlap so
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    1 significantly, Meta will get two bites at the apple—an outcome that is clearly unfair
    2 to Snap. For these reasons, even if there were exceptional circumstances (and there
    3 are not), the burdens imposed on the judiciary and Snap by transfer outweigh any
    4 purported benefits of transfer because the burdens are based on real disputes currently
    5 being litigated, whereas the supposed benefits are pretextual and based on
    6 hypothetical disputes that may never be litigated. See Argument § II below.
    7                                    BACKGROUND
    8          A.    The Klein and FTC Actions Involve Similar Issues.
    9          The Klein and FTC Motions concern two underlying actions. In Klein v. Meta
  10 Platforms, Inc., Case No. 3:20-cv-08570-JD (N.D. Cal.) (“Klein”), a proposed class
  11 of consumers (the “Consumer Plaintiffs”) and a proposed class of advertisers (the
  12 “Advertiser Plaintiffs”) are suing Meta for violating the Sherman Antitrust Act. The
  13 Consumer Plaintiffs allege that Meta “consistently and intentionally deceived
  14 consumers about the data protections it provided to its users, in order to diminish
  15 competition and obtain dominance in markets characterized by strong network effects
  16 and high barriers to entry.” FTC Subpoena Dkt. 8-3 ¶ 3.1 The Advertiser Plaintiffs
  17 allege that Meta “devised, executed, and reaped the benefits of a scheme to unlawfully
  18 monopolize the market for social advertising” through acquisitions of rivals,
  19 exclusion of competing or potentially competing developers from its platform, and
  20 agreements to divide markets with Google. FTC Subpoena Dkt. 8-4 ¶¶ 1, 5, 6, 16.
  21           In Federal Trade Commission v. Meta Platforms, Inc., Case No. 1:20-cv-
  22 03590-JEB (D.D.C.) (“FTC”), the FTC alleges that Meta “has maintained its
  23 monopoly position” by “systematically track[ing] potential rivals and acquir[ing]
  24
  25      Citations to “FTC Subpoena Dkt.” refer to the docket in Meta v. Snap, Case
           1

     No. 2:22-mc-00146-PA-AGR          (C.D. Cal.). Citations to “Klein Subpoena Dkt.”
  26 refer to the docket in Meta v. Snap,    Case No. 2:22-mc-00147-PA-AGR (C.D. Cal.).
     Citations  to “FTC   Joint Stip.” refer to
  27 Joint Stip.” refer to Klein Subpoena Dkt.  FTC Subpoena Dkt. 1-1. Citations to “Klein
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    1 companies that it viewed as serious competitive threats” in violation of the Sherman
    2 Antitrust Act. FTC Subpoena Dkt. 8-6 ¶ 1.
    3         Meta has acknowledged many of the similarities between FTC and Klein:
    4        “The allegations in the FTC and Klein cases regarding market definition and
    5         product quality raise similar, albeit not identical, discovery needs.” Klein Joint
    6         Stip. at 79.
    7        “Documents produced in the FTC action regarding Snap’s view of the
    8         competitive landscape and its competition with Meta specifically . . . go to the
    9         core of the [Klein] case.” Klein Joint Stip. at 80.
  10         “Like the FTC, [Consumer] Plaintiffs claim that Meta’s conduct suppressed
  11          competition along ‘non-price attributes such as quality’ and that but for this
  12          suppression, users would have enjoyed higher-quality products with better
  13          privacy features.” Id.
  14         “According to the FTC, Meta’s alleged [personal social networking services]
  15          monopoly ‘suppresses meaningful competition for the sale of advertising,’”
  16          FTC Joint Stip. at 106, and “Advertiser Plaintiffs claim Meta is a monopolist
  17          in the advertising sub-market of ‘social advertising,’” Klein Joint Stip. at 11.
  18          B.     Meta’s Subpoenas in Klein and FTC Substantially Overlap.
  19          Meta served Snap with a subpoena in Klein and a subpoena in FTC on the same
  20 day. The parties have since negotiated the two subpoenas together—an “efficiency-
  21 enhancing practice,” according to Meta, see Klein v. Meta, Case No. 3:20-cv-08570-
  22 JD (N.D. Cal.), Dkt. 319 at 6.
  23          Each subpoena demands all documents produced in the other litigation: the
  24 Klein subpoena seeks all documents that Snap produces in the FTC action, and the
  25 FTC subpoena seeks all documents that Snap produces in Klein. FTC Subpoena
  26 Dkt. 8-1, RFP 61; FTC Subpoena Dkt. 8-2, RFP 3. Meta voluntarily “dropp[ed]”
  27 various overlapping requests from the Klein subpoena only because it “expects Snap
  28
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    1 to produce those documents in [Klein] pursuant to RFP 3, requesting the documents
    2 produced in the FTC case.” FTC Subpoena Dkt. 8-13 at 2.
    3         The subpoenas call for substantially overlapping material. In addition to
    4 encompassing one another, many of the specific RFPs at issue call for the same
    5 material or material on substantially overlapping topics. For example, Meta’s Klein
    6 RFP 20 demands:
    7        “Documents sufficient to identify the importance of Your Privacy Policies,
    8         Privacy Practices, and Ad Load to users of Your Products.” FTC Subpoena
    9         Dkt. 8-2; Klein Joint Stip. at 8.
  10 Meta’s FTC subpoena includes at least four requests that also relate to the
  11 importance of, and competition with respect to, these same policies and practices:
  12         “Documents sufficient to identify . . . any changes to each Product, including
  13          changes to Your Privacy Policies, Privacy Practices, and Ad Load, You have
  14          made at least partly in response to competition or potential competition with
  15          any company other than Meta.” FTC Subpoena Dkt. 8-1, RFP 2(e).
  16         “All Documents or data that refer or relate to the effect of changes in Ad
  17          Load, ad targeting capabilities, ad quality, Privacy Policies or Privacy
  18          Practices (including public statements about those practices or policies), or
  19          data storage and protection on users, including, but not limited to, user
  20          activity, sentiment, engagement, growth, retention, Churn Rate, attrition,
  21          switching, Diversion, or substitution.” FTC Subpoena Dkt. 8-1, RFP 12.
  22         “Documents sufficient to identify the following policies and practices and the
  23          reasons for changes to them over time: the Company’s Privacy Policies and
  24          Privacy Practices, data protection practices and policies, practices and policies
  25          for reducing Spam, practices and policies for retention of user or non-user
  26          data, and practices and policies relating to Ad Load; including without
  27          limitation Documents sufficient to identify what data relating to Your users
  28          You share with third parties, the identity of those third parties, and the
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    1         consideration You received in exchange thereof.” FTC Subpoena Dkt. 8-1,
    2         RFP 13; FTC Joint Stip. at 14-15.
    3        “All Documents relating to competition between You and Your actual or
    4         potential competitors, including Meta, with respect to Ad Load, Privacy
    5         Policies and Privacy Practices, and data collection and use practices or
    6         policies.” FTC Subpoena Dkt. 8-1, RFP 14; FTC Joint Stip. at 15.
    7 As another example, Klein RFP 22 demands:
    8        “Documents sufficient to identify Your rationale for paying or not paying
    9         Your users or customers money in exchange for their use of Your Products.”
  10          FTC Subpoena Dkt. 8-2.
  11 Meta’s FTC requests ask for the same type of information, just framed slightly
  12 differently:
  13         “All Documents referring or relating to how pricing for Your Snapchat
  14          Product is set, including all Documents sufficient to identify why certain
  15          Products are offered for free.” FTC Subpoena Dkt. 8-1, RFP 46; FTC Joint
  16          Stip. at 16.
  17         “Documents sufficient to show how You determined Your pricing mechanism
  18          for providing users with monetary compensation to post content using the
  19          Spotlight feature on Snapchat.” FTC Subpoena Dkt. 8-1, RFP 47.
  20 Meta’s Klein RFP 41 demands:
  21         “Documents sufficient to show the effect of Meta’s interactions with
  22          Cambridge Analytica and Meta’s public representations concerning
  23          Cambridge Analytica on user activity, sentiment, engagement, growth,
  24          retention, Churn Rate, attrition, switching, Diversion, or substitution related
  25          to Your Products.” FTC Subpoena Dkt. 8-2.
  26 Meta’s FTC RFPs subsume its Klein RFP:
  27         “All Documents referring or relating to competition with Meta, the
  28          substitutability of Your Products with Meta’s Products, Diversion of users
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    1         and Advertisers between Your Products and Meta’s Products, or comparisons
    2         between Your Products and Meta’s Products.” FTC Subpoena Dkt. 8-1,
    3         RFP 4.
    4        “Documents or data concerning the time spent on each Product by users who
    5         use any of Your competitors’ Products, including any studies or analyses on
    6         the effect of Outages and changes in price and quality on user Diversion.”
    7         FTC Subpoena Dkt. 8-1, RFP 10; FTC Joint Stip. at 18.
    8         Thus, although sometimes phrased differently, the FTC and Klein subpoenas
    9 seek information on substantially overlapping topics and in several instances seek the
   10 same materials and analyses. Moreover, any semblance of distinctness is eviscerated
   11 because, as explained above, each subpoena demands the production of all documents
   12 produced in response to the other subpoena.
   13         C.    The Klein and FTC Motions Are Related.
   14         On July 1, 2022, Meta declared impasse in negotiations with Snap and asked
   15 for Snap’s consent to Meta’s motion to transfer the FTC Motions to Judge Boasberg
   16 in the District of Columbia, the judge overseeing the FTC action. FTC Subpoena
   17 Dkt. 40-8. Snap declined for many of the reasons stated herein. Although Snap
   18 preferred to make a unified Joint Stipulation concerning both the FTC and Klein
   19 subpoenas, Meta insisted on filing two separate Joint Stipulations for the FTC and
   20 Klein Motions. As a result, each Joint Stipulation contains a motion to compel by
   21 Meta and a motion to quash by Snap. Consistent with the requirements of Rule 45,
   22 both Joint Stipulations were filed in the Central District of California, the district
   23 where compliance is required.
   24         The Joint Stipulations are quite repetitive, with both parties having copied and
   25 pasted large swaths of one Joint Stipulation into the other. This is because the Joint
   26 Stipulations involve the same legal and factual issues. Both involve the same
   27 provisions of Rule 45, specifically 45(d)(3)(A), 45(d)(3)(B)(ii), and 45(d)(3)(C).
   28 Snap argues that both subpoenas should be quashed for the same reasons: they are
                                                 7
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    1 unduly burdensome and require production of vast troves of incredibly sensitive
    2 confidential commercial information for which Meta has no substantial need. Meta
    3 justifies its demands in both actions by arguing that Snap is a significant competitor
    4 and alleged victim of Meta’s conduct. The parties’ legal arguments are almost
    5 identical across the two motions; they differ across motions primarily as to the burden,
    6 breadth, and relevance of specific individual requests. However, as provided above,
    7 the specific individual requests in the two subpoenas ask for the same type of material.
    8         The parties’ arguments regarding remedies are also substantially the same
    9 across the motions. Snap argues the subpoenas should be quashed and Meta should
   10 be ordered to craft and serve more narrowly tailored requests; Meta argues that doing
   11 so would be “wasteful” in both cases. Snap argues that the only way to adequately
   12 protect the most sensitive information Meta demands from Snap would be to ensure
   13 that Meta’s insiders cannot view it with the creation of an “outside counsel’s eyes
   14 only” designation; Meta argues in both cases that this Court lacks the power to impose
   15 such conditions. Finally, Snap argues that any order requiring compliance must
   16 include compensation for Snap’s costs of compliance. Meta argues in both cases that
   17 this request is premature, and that Snap should be considered akin to a party because
   18 Snap would benefit if either plaintiff obtained the (substantially similar) injunctive
   19 relief they seek.
   20         On August 9, 2022, Meta filed its motion to transfer. FTC Subpoena Dkt. 40.
   21         On August 10, 2022, Snap requested to have the two subpoena actions related,
   22 Klein Subpoena Dkt. 25, which the Court granted the next day, Klein Subpoena
   23 Dkt. 27.
   24                                  LEGAL STANDARD
   25         Rules 45(d)(2) and 45(d)(3) empower the court in the district where compliance
   26 is required to resolve motions to compel compliance with, quash, or modify a
   27 subpoena. “When the court where compliance is required did not issue the subpoena,
   28 it may transfer a motion under this rule to the issuing court if the person subject to the
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    1 subpoena consents or if the court finds exceptional circumstances.” Fed. R. Civ. P.
    2 45(f) (emphasis added). “[T]he proponent of transfer bears the burden of showing
    3 that such circumstances are present. The prime concern should be avoiding burdens
    4 on local nonparties subject to subpoenas, and it should not be assumed that the issuing
    5 court is in a superior position to resolve subpoena-related motions.” Committee Notes
    6 on Rules—2013 Amendment (emphasis added).                If there are no exceptional
    7 circumstances, then the motion should be denied. See id. If there are exceptional
    8 circumstances, then the Court evaluates whether those circumstances outweigh the
    9 other interests at stake. See id. (“Transfer is appropriate only if such interests
   10 outweigh the interests of the nonparty served with the subpoena in obtaining local
   11 resolution of the motion.”).
   12                                      ARGUMENT
   13          The Court should deny Meta’s motion to transfer for two reasons. First, Meta’s
   14 arguments cannot establish that exceptional circumstances require transfer. § I below.
   15 Second, even assuming Meta could show exceptional circumstances (which it cannot),
   16 the burden on the judiciary and Snap would outweigh the purported benefits of
   17 transfer because splitting up the related FTC and Klein Motions would be inefficient,
   18 unfair, and risk inconsistent rulings. § II below.2
   19          META CANNOT SHOW THE REQUIRED “EXCEPTIONAL
   20          CIRCUMSTANCES.”
   21          As an initial matter, the Court should heavily discount Meta’s arguments
   22 because they are pretextual. Meta seeks to transfer the FTC Motions to the underlying
   23
           Meta’s motion to transfer also violates Civil Local Rule 45-1, which provides
           2
   24 that “[e]xcept  with respect to motions transferred to this district pursuant to
      F.R.Civ.P.   45(f), L.R. 37 applies to all motions relating to discovery subpoenas
   25 served on (a) parties   and (b) non-parties represented by counsel.” Although Meta’s
      motion   to transfer is clearly a “motion[] relating to discovery subpoenas,” Meta
   26 failed to follow the joint stipulation  process required by Civil Local Rule 37.
      Meta’s  failure  is an independent   basis to deny its motion to transfer. See L.R. 37-
   27 2.4 (“The Court will not consider any discovery       motion in the absence of a joint
   28 stipulation  or” circumstances    not applicable here.).
                                                 9
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    1 action in the District of Columbia, which is before Judge Boasberg, but does not seek
    2 to transfer the Klein Motions to the underlying action in the Northern District of
    3 California, which is before Judge Donato. This is despite the fact the same purported
    4 reasons would support transferring the Klein Motions: Judge Donato is more familiar
    5 than is this Court with the underlying action, Judge Donato has been actively
    6 managing discovery in Klein, dozens of non-party subpoenas have been served in
    7 Klein, and there is a protective order in Klein permitting Meta’s in-house counsel to
    8 access highly confidential information. There is no principled reason for Meta to
    9 request transfer of only the FTC Motions, and not the Klein Motions. Meta’s reasons
   10 for seeking transfer of the FTC Motions are purely tactical. One such tactical reason
   11 may be that Meta believes Judge Boasberg will be more likely to rule in Meta’s favor.
   12 Another tactical reason may be that moving some of its discovery requests to another
   13 district allows Meta to obscure the crushing overall burden imposed by its requests—
   14 Meta hopes that no single judge will evaluate the holistic burden that its requests
   15 impose on Snap. It matters not which reason is Meta’s actual reason. The point is
   16 that Meta’s proffered reasons are pretextual and should be heavily discounted.
   17         None of Meta’s three proffered arguments establishes an exceptional
   18 circumstance.
   19         First, transfer will not “avoid inconsistent rulings” with the FTC’s subpoena in
   20 the FTC action. Memo at 6-7. This argument is backfilling. Meta requested Snap’s
   21 consent to its motion to transfer on July 1, 2022. FTC Subpoena Dkt. 40-8. The FTC
   22 did not serve a subpoena on Snap until nearly three weeks later, on July 20, 2022.
   23 FTC Subpoena Dkt. 1-33 at 1. Thus, Meta fabricated this argument after the fact to
   24 justify its forum shopping. Meta’s argument is also speculative, as it is based on
   25 purely hypothetical disputes that are unlikely to materialize. See Woods ex rel. United
   26 States v. SouthernCare, Inc., 303 F.R.D. 405, 408-09 (N.D. Ala. 2014) (denying
   27 motion to transfer because “[t]he risk of overlapping future rulings, in the name of
   28 judicial economy or otherwise, does not constitute an exceptional circumstance”).
                                                10
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    1 Snap does not have any current discovery dispute with the FTC, and the FTC’s
    2 subpoena is unlikely to be litigated, given that the FTC narrowed its subpoena far
    3 more than Meta has, FTC Joint Stip. at 74, and in turn Snap intends to search for
    4 documents in response to all the FTC’s priority requests. By contrast, transfer
    5 increases the risk of inconsistent rulings on the FTC and Klein Motions, for the
    6 reasons explained below. See Argument § II below.
    7          Nor will transfer “avoid inconsistent rulings” on subpoenas issued to other non-
    8 parties in the FTC action. Memo at 6-7. For starters, it is telling that Meta assumes
    9 it is so likely to litigate so many of the boilerplate subpoenas it served on “over 100
   10 other nonparties,” id. at 6, that it will need the District of Columbia to serve as a
   11 clearinghouse.3 Meta created the problem it now asserts to support its motion; had
   12 Meta served more reasonable subpoenas, it would not have to fear litigating so many
   13 of them. Moreover, the precedential value of this Court deciding the FTC and Klein
   14 Motions on Meta’s negotiations with other non-parties would be limited because so
   15 many of those non-parties are so differently situated. For example, Meta served
   16 subpoenas on Oracle (a diversified software company), Reddit (a discussion website),
   17 Match Group (a dating app developer), and Dispo (a photo-sharing app with 25
   18 employees).4      There is no reason to believe these non-parties would all have
   19 equivalent discovery burdens or confidentiality concerns, and they should not have
   20 received identical or nearly identical subpoenas. Again, Meta’s purported concern
   21 about inconsistent rulings is pretextual. If Meta were truly concerned about reducing
   22 the risk of inconsistent rulings, it would have sought transfer of the Klein Motions to
   23
   24
           3
            Indeed, the fact that Meta fears “inconsistent rulings” across subpoenas issued
   25 to more    than 100 different non-parties underscores that Meta made no effort to
   26 tailor its  subpoenas to the individual targeted non-parties.
          4
   27 Dispo See FTC Subpoena Dkt. 1-12; Taylor Hatmaker, “Meta subpoenaed tiny rival
              to prove it isn’t a monopoly,” TechCrunch, https://techcrunch.com/2022/04/
   28 11/meta-dispo-ftc-case-subpoena/.
                                                 11
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    1 the Northern District of California, where Meta has also served dozens of subpoenas.
    2 See Klein v. Meta, Case No. 3:20-cv-08570-JD (N.D. Cal.), Dkt. 319 at 4.
    3         Further, Judge Boasberg’s “familiar[ity] with the FTC case” is not a reason to
    4 split up the Snap-related cases. Memo at 7-8. The issuing court is always more
    5 familiar with the underlying action than the compliance court, and yet Rule 45(f)
    6 requires “exceptional circumstances” to warrant transfer. Familiarity “cannot be what
    7 Congress meant when it required a finding of exceptional circumstances, otherwise
    8 the exception would swallow the rule.” Isola USA Corp. v. Taiwan Union Tech.
    9 Corp., 2015 U.S. Dist. LEXIS 140416, at *10 (D. Mass. June 18, 2015)
   10 (recommending denial of motion to transfer), report & recommendation adopted,
   11 2015 U.S. Dist. LEXIS 142797 (D. Mass. Aug. 27, 2015). In any event, Meta has
   12 surely included enough background in the 258 pages of Joint Stipulations filed by the
   13 parties to facilitate this Court’s understanding of the parties’ dispute.
   14         Nor will this Court hearing the Snap-related cases together “disrupt[] Judge
   15 Boasberg’s management of” the FTC action. Memo at 8. Although Meta does not
   16 explain this point, see id., its cited cases are clearly distinguishable. The “disruption”
   17 referenced in both cases Meta cites concerned the deadline for fact discovery in the
   18 underlying actions. See Bell v. ATH Holding Co., LLC, 2018 U.S. Dist. LEXIS
   19 117507, at *16 (E.D. Pa. July 16, 2018) (“Participants demonstrated a risk of
   20 disruption . . . because the fact discovery deadline in the underlying litigation has
   21 passed.”); Le v. Zuffa, LLC, 2017 WL 11632246, at *3 (C.D. Cal. Mar. 17, 2017)
   22 (“The fact discovery cut-off of May 1, 2017 is fast-approaching.”). Here, the fact
   23 discovery deadlines in the FTC and Klein actions are many months away, and there
   24 is no risk that this Court’s ruling would disrupt those deadlines. See FTC Subpoena
   25 Dkt. 1-16 ¶ 4; Klein Subpoena Dkt. 1-32 at 1004.
   26         Second, contrary to Meta’s argument, Memo at 8-10, Snap has a very strong
   27 interest in local resolution of the FTC and Klein Motions. As explained below, this
   28 Court is the only court that can hear both sets of motions together and balance the
                                                  12
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    1 overall burden that Snap will face from Meta’s subpoenas. If this Court transfers the
    2 FTC Motions, non-party Snap will have to litigate in two courts and face the
    3 possibility of inconsistent rulings. See Argument § II below. Further, even if Snap
    4 had no interest in local resolution (which it does), “[t]he lack of a burden imposed on
    5 the nonparty by transfer is not in itself an exceptional circumstance and is insufficient
    6 to warrant transfer.” Woods, 303 F.R.D. at 407; see Isola, 2015 U.S. Dist. LEXIS
    7 140416, at *11 (explaining that there is no “‘Fortune 500’ exception where any large
    8 and successful business would lose the protections of Rule 45”).
    9          Third, the existence of Judge Boasberg’s two-sentence ruling on a case-wide
   10 protective order regarding highly confidential information, Klein Subpoena Dkt. 1-
   11 16, is not an exceptional circumstance. Judge Boasberg did not decide the same issue
   12 presented to this Court. He considered whether all non-parties should be permitted
   13 to designate highly confidential material as being limited to “outside counsel eyes’
   14 only”; he did not consider whether the Snap information that Meta demands in its
   15 subpoenas, in particular, should be entitled to specific protective conditions. In fact,
   16 Judge Boasberg could not have considered in his March 22, 2022 ruling the specific
   17 issues raised before this Court. Snap had not even served its responses and objections
   18 by that date. See FTC Subpoena Dkt. 1-6. It was not until July 1, 2022 when Meta
   19 unilaterally declared that the parties were at an impasse that it was clear what Snap
   20 material Meta was going to insist on receiving. See FTC Subpoena Dkt. 40-8. As
   21 such, Snap’s request for an “outside counsel eyes’ only” condition is not a belated
   22 “motion to reconsider.” Memo at 10; see In re Bestwall LLC, 2021 U.S. Dist. LEXIS
   23 102452, at *14-15 (D. Del. June 1, 2021) (denying transfer and rejecting attempt “to
   24 paint the Motion to Quash as an improper collateral attack on the Issuing Court’s
   25 March 24 Order” because “[a]ny motion seeking to quash or modify a subpoena must
   26 . . . be brought in the district of compliance”).5
   27      Plaintiff’s cited case is inapplicable. Memo at 10. Olson v. Sprint Spectrum
           5

   28 would2008
      L.P.,       WL 11506695, at *2 (W.D. Wash. Apr. 16, 2008) explained that it
             be “truly radical” to allow “any class plaintiff who receives unequivocal
                                                  13
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    1          Nor is Snap’s request “untimely,” Memo at 10, as Snap asserted its
    2 confidentiality objection repeatedly in its responses and objections to Meta’s
    3 subpoenas. See generally FTC Subpoena Dkt. 1-6. This Court clearly has authority
    4 to grant Snap’s request for an “outside counsel eyes’ only” condition, as Rule 45
    5 expressly provides that “the court for the district where compliance is required may”
    6 “order . . . production under specified conditions.” Fed. R. Civ. P. 45(d)(3) (emphasis
    7 added); see In re Subpoenas to Glob. Music Rights, 2019 U.S. Dist. LEXIS 235809,
    8 at *1 n.1, *6-7 (C.D. Cal. Jan. 18, 2019) (denying motion to transfer—even though
    9 non-party’s motion to quash sought revisions “to the existing protective order” in the
   10 underlying action—because “the Motion [to quash] is properly before this Court” as
   11 “the Subpoenas seek compliance in this district”).6
   12          Additionally, while Snap’s request for an “outside counsel eyes’ only”
   13 condition is very important to Snap, the issue is only one of many issues raised by the
   14 FTC and Klein Motions. The Court should not allow this one issue to overshadow
   15 the others.
   16
   17
   18 notice,  rightly or wrongly, that their claims will be extinguished by a settlement
      agreement, and yet chooses not to opt out of the settlement class or file an
   19 objection,     [to] thereafter raise their objections to the agreement in a different court
      when one party seeks to enforce it.” Rule 45(f)—which expressly requires that
   20 Snap move in this Court—was not at issue in Olson.
          6
            Meta wrongly argues that Snap’s request for an “outside counsel eyes’ only”
   21 condition     is “an end-run around the Protective Order itself, which clearly provides
      that  Snap  had    ten days after . . . receiv[ing] the Order[] to seek additional protections
   22 from Judge Boasberg.”             Memo at 10. First, the cited provision refers to
      “Investigation        Materials”
   23 investigation of Meta), rather      (that is, documents produced during the FTC’s
                                                than “Litigation Materials” (that is, documents
   24 if a non-party objects within ten days,Meta
      produced     in  the FTC  action).   Second,         misreads the provision, which states that
                                                      then “the Investigation Materials for which
   25 additional     protection has been sought will not be provided to other Persons, aside
      from outside counsel, until the Court has ruled.” See FTC Subpoena Dkt. 1-24 § B.3.
   26 The   provision ensures that non-parties’ Investigation Materials are protected if they
      object within ten days; it does not state that waiver is the penalty if they do not.
   27 Indeed,   elsewhere the protective order makes clear that “[n]othing in this Order
      limits . . . a Protected Person from[] seeking . . . further or additional protections of
   28 any of its materials.” Id. § I.1.
                                                    14
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    1          Finally, contrary to Meta’s argument, Memo at 11, Judge Boasberg’s
    2 “familiar[ity] with the protective order” is not a reason why he should decide the FTC
    3 Motions. The protective order is only 27 pages long; anyone can become familiar
    4 with it in less than an hour.
    5          Because Meta cannot meet its burden to prove exceptional circumstances, the
    6 Court need not go further and should deny Meta’s motion to transfer for this reason
    7 alone.
    8          THE BURDEN TO THE JUDICIARY AND SNAP FROM
    9          TRANSFERING OUTWEIGHS ANY PURPORTEDLY
   10          EXCEPTIONAL CIRCUMSTANCES.
   11          Even if the Court finds exceptional circumstances favoring transfer, the Court
   12 should still deny Meta’s motion. This Court is currently scheduled to decide a motion
   13 to compel and a motion to quash concerning Meta’s subpoena in FTC, as well as a
   14 motion to compel and a motion to quash concerning Meta’s subpoena in Klein. The
   15 issues raised in these four motions overlap heavily. Indeed, both parties copied and
   16 pasted entire sections of one Joint Stipulations into the other. The only reason there
   17 are two cases before this Court instead of one is that Meta insisted on splitting up its
   18 requests this way. See Background § C above. The Court should decide the motions
   19 pending in the related cases together for two reasons.
   20          First, splitting up the related cases would be inefficient. If the FTC and Klein
   21 Motions remain before this Court, only one court will have to rule on the dispute
   22 between Meta and Snap, and non-party Snap will have to litigate in only one court.
   23 On the other hand, if the FTC Motions are transferred, two courts will have to rule on
   24 the dispute between Meta and Snap, and Snap will have to litigate in two courts. Thus,
   25 transferring the FTC Motions would waste judicial and party resources. See, e.g.,
   26 CMB Expert, LLC v. Atteberry, 2014 U.S. Dist. LEXIS 72029, at *4-5 (N.D. Tex.
   27 May 27, 2014) (denying motion to transfer because “the parties have agreed to
   28 consolidate before this Court the only other subpoena-related action cited by either
                                                 15
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    1 party” and complexity of underlying action was not an “exceptional circumstance[]
    2 warranting a Rule 45(f) transfer”); Kuznyetsov v. W. Penn Allegheny Health Sys. (In
    3 re Am. Nurses Ass’n), 788 F. Supp. 2d 444, 446-47 (D. Md. 2011) (denying motion
    4 to transfer because the court had already “ruled on a related subpoena dispute” and
    5 the non-party “has been served with [other] similar subpoenas issued by this Court”).
    6          Meta counters that this Court hearing both related cases “would yield no
    7 efficiencies for Snap” because “the motions ‘concern distinct sets of documents and
    8 are different in subject matter and scope.’” Memo at 9. Meta is talking out of both
    9 sides of its mouth. Its entire justification for demanding production in Klein of all
   10 documents produced by Snap in FTC is that “[d]ocuments produced in the FTC action
   11 regarding Snap’s view of the competitive landscape and its competition with Meta
   12 specifically are relevant, and go to the core of the [Klein] case.” Klein Joint Stip. at
   13 79-80. The documents and subject matter at issue in the underlying actions overlap
   14 heavily, see Background §§ B, C above, which is precisely why Meta demands cross-
   15 production. The Court should not allow Meta to have it both ways. Just as the overlap
   16 between the underlying actions justifies cross-production, it justifies motion practice
   17 coordinated by the same court—this Court—the court in the district where compliance
   18 with the subpoenas is to be had.7
   19          Second, splitting up the related cases would be unfair to Snap and risks
   20 inconsistent rulings. As noted, the issues in the related cases overlap heavily. It
   21 would be unfair for one court to order discovery and another court to deny discovery
   22      7
             Meta’s cited cases are inapposite. Memo at 9-10. In Bright House Networks,
   23   LLC v. MarkMonitor, Inc., 2020 WL 4464882, at *3 (N.D. Cal. Aug. 3, 2020), the
        subpoena actions “were before . . . different judge[s]” in the Northern District of
   24   California and “the movants in the three [subpoena] cases [were] three separate
        entities.” In Bell, Vanguard, a non-party to the underlying action, argued that the
   25   Eastern District of Pennsylvania “could provide a single forum for resolving
        discovery disputes involving Vanguard, in its role as recordkeeper for retirement
   26   plans, in unrelated actions pending across the country”—an obvious overreach.
        2018 U.S. Dist. LEXIS 117507, at *22. Here, by contrast, the FTC and Klein
   27   Motions overlap heavily, are before the same judge, involve the same movants, and
        Meta seeks cross-production. The efficiencies achievable here could not have been
   28   achieved in Bright House or Bell.
                                                 16
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    1 on the same issues involving the same parties. Moreover, the unfairness uniquely
    2 disadvantages Snap because Meta will get two bites at the apple. If this Court denies
    3 discovery, the District of Columbia could essentially overrule this Court by granting
    4 the same discovery. Snap should not have to win twice to protect itself from burdens
    5 inappropriate to impose on a non-party. See, e.g., Atteberry, 2014 U.S. Dist. LEXIS
    6 72029, at *4-5; Kuznyetsov, 788 F. Supp. 2d at 446-47; cf. Sines v. Darling
    7 Ingredients, Inc., 2022 U.S. Dist. LEXIS 88397, at *68 (D.N.M. May 17, 2022)
    8 (denying transfer where party requested transfer of motion to compel only if the court
    9 was inclined to rule against it on the motion to compel).
   10         These burdens to the judiciary and Snap arise from real disputes currently being
   11 litigated. By contrast, Meta’s purported benefits of transferring are pretextual and
   12 based on entirely hypothetical disputes that may never materialize. See Argument § I
   13 above. Inefficiencies and inconsistent rulings are accordingly more likely to occur if
   14 the FTC Motions are transferred. For these reasons, even if Meta had established
   15 exceptional circumstances (which it has not), the burden imposed on the judiciary and
   16 Snap from transferring outweighs those circumstances.
   17                                     CONCLUSION
   18         The Court should deny Meta’s motion to transfer for the foregoing reasons.
   19   DATED: August 23, 2022             Respectfully submitted,
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   28
                                                17
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